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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OWEN PIATT                               :      CIVIL ACTION
                                         :
      v.                                 :
                                         :
NCO FINANCIAL SYSTEMS, INC.              :      NO. 11-4410

                                        ORDER

      AND NOW, this 26th day of September, 2011, it having been reported that the

issues between the parties in this action have been settled and pursuant to the provisions

of Rule 41.1(b) of the Local Rules of Civil Procedure, it is ORDERED that this action is

DISMISSED with prejudice, without costs.




                                                /s/Timothy J. Savage
                                                TIMOTHY J. SAVAGE, J.
